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FILED

UNITED STaT

ALBUQUERQUE SetoT COURT

ERQUE, NEW MEXICO
MAR 18 2049

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO
MITCHELL R. ELFERS

UNITED STATES OF AMERICA, CLERK
Plaintiff, CRIMINAL NO. 18-2945 WJ
VS. Count One: 18 U.S.C. § 2339A,
Conspiracy to Provide Material Support to
JANY LEVEILLE, Terrorists;
SIRAJ IBN WAHHAJ,
HUJRAH WAHHAJ, Count Two: 18 U.S.C. §§ 2339A & 2,
SUBHANAH WAHHAJ, and Providing Material Support to Terrorists;
LUCAS MORTON,
Count Three: 18 U.S.C. § 1117,
Defendants. Conspiracy to Murder an Officer or

Employee of the United States;

Count Four: 18 U.S.C. § 371, Conspiracy
to Commit an Offense Against the United
States;

Count Five: 18 U.S.C. §§ 922(g)(5) & 2,
Possessing a Firearm While Unlawfully in
the United States;

Count Six: 18 U.S.C. § 1201(c),
Conspiracy to Commit Kidnapping;

Count Seven: 18 U.S.C. §§ 1201(a) & 2,
Kidnapping; and

Forfeiture Notice: 18 U.S.C. § 924(d)(1),
28 U.S.C. § 2461.

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SUPERSEDING INDICTMENT

The Grand Jury for the District of New Mexico charges:
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Count 1
A. The Agreement
1. From a date unknown to the Grand Jury, but at least from in or about October

2017, up to and including in or about August 2018, in the District of New Mexico and
elsewhere, JANY LEVEILLE, SIRAJ IBN WAHHAJ, HUJRAH WAHHAJ, SUBHANAH
WAHHAJ, and LUCAS MORTON, and others known and unknown to the Grand Jury,
knowingly did conspire, combine, confederate, agree, and act interdependently with each other
to provide material support and resources, including currency, training, weapons, and personnel,
knowing and intending that they were to be used in preparation for and in carrying out attacks to
kill officers and employees of the United States, in violation of 18 U.S.C. § 1114. As part ofa
common plan, JANY LEVEILLE, SIRAJ IBN WAHHAJ, HUJRAH WAHHAJ,
SUBHANAH WAHHAJ, and LUCAS MORTON maintained a training compound to prepare
for attacks on government, military, and other institutions.

B. The Manner and Means of the Conspiracy

The manner and means by which the conspiracy was sought to be accomplished
included, among other things, the following:

2. That SIRAJ IBN WAHHAJ and HUJRAH WAHHAJ gathered firearms and

ammunition.

3. That JANY LEVEILLE, SIRAJ IBN WAHHAJ, HUJRAH WAHHAJ,
SUBHANAH WAHHAJ, and LUCAS MORTON transported personnel, firearms, and
ammunition across state lines.

4. That JANY LEVEILLE, SIRAJ IBN WAHHAJ, HUJRAH WAHHAJ,

SUBHANAH WAHHAJ, and LUCAS MORTON constructed and maintained a training

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compound.

5. That JANY LEVEILLE, SIRAJ IBN WAHHAJ, HUJRAH WAHHAJ,
SUBHANAH WAHHAJ, and LUCAS MORTON stored firearms and ammunition on the
training compound.

6. That SIRAJ IBN WAHHAJ and LUCAS MORTON constructed and
maintained a firing range and engaged in firearms and tactical training with other occupants of
the training compound.

C. The Overt Acts of the Conspiracy

In furtherance of the conspiracy, and to effect the objects thereof, JANY LEVEILLE,
SIRAJ IBN WAHHAJ, HUJRAH WAHHAJ, SUBHANAH WAHHAJ, and LUCAS
MORTON committed overt acts within the District of New Mexico and elsewhere, including,
but not limited to, the following:

7. In or about December 2017, in the State of Georgia, SIRAJ IBN WAHHAJ
provided at least ten firearms to his coconspirators.

8. In or about December 2017, in the State of Georgia, HUJRAH WAHHAJ
provided at least one firearm to her coconspirators.

9, In or about December 2017, JANY LEVEILLE, SIRAJ IBN WAHHAJ,
HUJRAH WAHHAJ, and SUBHANAH WAHHAJ traveled with others from the State of
Georgia to the State of Alabama in vehicles owned by JANY LEVEILLE and others, while
armed with firearms and ammunition.

10. Inor about December 2017, JANY LEVEILLE, SIRAJ IBN WAHHAJ,
HUJRAH WAHHAJ, SUBHANAH WAHHAJ, and LUCAS MORTON traveled with

others from the State of Alabama to the State of New Mexico in a vehicle owned by LUCAS
 

 

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MORTON, while armed with firearms and ammunition.

11. In or between December 2017 and August 2018, in the District of New Mexico,
SUBHANAH WAHHAJ provided financial support to her coconspirators.

12. In or between December 2017 and August 2018, in the District of New Mexico,
JANY LEVEILLE, SIRAJ IBN WAHHAJ, HUJRAH WAHHAJ, SUBHANAH
WAHHAJ, and LUCAS MORTON built and maintained a training compound comprised of
materials such as a wooden frame, a trailer, plastic tarps, and tire walls and barriers.

13. In or between December 2017 and August 2018, in the District of New Mexico,
JANY LEVEILLE, SIRAJ IBN WAHHAJ, HUJRAH WAHHAJ, SUBHANAH
WAHHAJ, and LUCAS MORTON stored firearms and ammunition on the training
compound.

14. In or between December 2017 and August 2018, in the District of New Mexico,
SIRAJ IBN WAHHAJ and LUCAS MORTON built a firing range on the training compound.

15. In or between December 2017 and August 2018, in the District of New Mexico,
SIRAJ IBN WAHHAJ and LUCAS MORTON dug an underground tunnel leading away
from the training compound.

16. In or between December 2017 and August 2018, in the District of New Mexico,
JANY LEVEILLE possessed and shot a firearm on the training compound’s firing range.

17. In or between December 2017 and August 2018, in the District of New Mexico,
SIRAJ IBN WAHHAJ possessed and shot a firearm on the training compound’s firing range.

18. In or between December 2017 and August 2018, in the District of New Mexico,
HUJRAH WAHHAG possessed and shot a firearm on the training compound’s firing range.

19, In or between December 2017 and August 2018, in the District of New Mexico,
 

 

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SUBHANAH WAHBAJ possessed and shot a firearm on the training compound’s firing
range.

20. In or between December 2017 and August 2018, in the District of New Mexico,
LUCAS MORTON possessed and shot a firearm on the training compound’s firing range.

21.  Inor about December 2017, in the District of Georgia, JANY LEVEILLE and
LUCAS MORTON solicited one of SIRAJ IBN WAHHAJ’s relatives to join the occupants
of the training compound in the State of New Mexico, to bring money and firearms, and to die
as a martyr.

22. In or between December 2017 and August 2018, in the District of New Mexico,
SIRAJ IBN WAHHAJ and LUCAS MORTON trained persons, including other members of
the training compound, in using firearms and performing tactical maneuvers.

23. In or between December 2017 and August 2018, in the District of New Mexico
and elsewhere, JANY LEVEILLE and SIRAJ IBN WAHHAJ instructed persons, including
other occupants of the training compound, to be prepared to engage in jihad, to die as martyrs,
and to engage in violent acts, including killing Federal Bureau of Investigation employees,
government officials, and military personnel.

In violation of 18 U.S.C. § 2339A.

Count 2
24. The factual allegations in paragraphs 2 through 23 of this Superseding
Indictment are re-alleged as if set forth fully herein.

25. From at least in or about October 2017, up to and including in or about August
2018, in the District of New Mexico, and elsewhere, JANY LEVEILLE, SIRAJ IBN
WAHHAJ, HUJRAH WAHHAJ, SUBHANAH WAHHAJ, and LUCAS MORTON

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knowingly provided and attempted to provide material support and resources, including
currency, training, weapons, and personnel, knowing and intending that they were to be used in
preparation for and in carrying out attacks to kill officers and employees of the United States, in
violation of 18 U.S.C. § 1114.
In violation of 18 U.S.C. §§ 2339A and 2.
Count 3
26. The factual allegations in paragraphs 2 through 23 of this Superseding
Indictment are re-alleged as if set forth fully herein.

27. From at least in or about October 2017, up to and including in or about August
2018, in the District of New Mexico, and elsewhere, JANY LEVEILLE, SIRAJ IBN
WAHHAJ, and LUCAS MORTON, and others known and unknown to the Grand Jury,
knowingly did conspire, combine, confederate, agree, and act interdependently with each other
to attack and kill officers and employees of the United States, in violation of 18 U.S.C. § 1114.
It was a part and an object of the conspiracy that JANY LEVEILLE, SIRAJ IBN WAHHAJ,
and LUCAS MORTON would kill officers and employees of the United States, to wit, Federal
Bureau of Investigation employees, government officials, and military personnel.

28. In furtherance of the conspiracy, and to effect the objects thereof, JANY
LEVEILLE, SIRAJ IBN WAHHAJ, and LUCAS MORTON committed overt acts within
the District of New Mexico and elsewhere, including, but not limited to, those acts alleged in
paragraphs 7 through 23.

In violation of 18 U.S.C. § 1117.

Count 4

29, The factual allegations in paragraphs 2 through 23 of this Superseding
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Indictment are re-alleged as if set forth fully herein.

30. | From a date unknown to the Grand Jury, but at least from in or about October
2017, and continuing thereafter until at least in or about August 2018, in the District of New
Mexico and elsewhere, JANY LEVEILLE, SIRAJ IBN WAHHAJ, HUJRAH WAHHAJ,
SUBHANAH WAHHAJ, and LUCAS MORTON, and others known and unknown to the
Grand Jury, knowingly did conspire, combine, confederate, agree, and act interdependently
with each other to commit an offense against the United States, to wit, to knowingly provide
JANY LEVEILLE, an alien who was illegally and unlawfully in the United States, possession
of firearms, in violation of 18 U.S.C. § 922(g)(5).

31. In furtherance of the conspiracy, and to effect the objects thereof, JANY
LEVEILLE, SIRAJ IBN WAHHAJ, HUJRAH WAHHAJ, SUBHANAH WAHHAJ, and
LUCAS MORTON, and others known and unknown to the Grand Jury, committed overt acts
within the District of New Mexico and elsewhere, including, but not limited to, those acts
alleged in paragraphs 7 through 23.

In violation of 18 U.S.C. § 371.

Count 5
32. The factual allegations in paragraphs 2 through 23 of this Superseding
Indictment are re-alleged as if set forth fully herein.
33. From at least in or about October 2017, up to and including in or about August
2018, in the District of New Mexico, and elsewhere, JANY LEVEILLE, being an alien
illegally and unlawfully in the United States, knowingly possessed, in and affecting commerce,

firearms and ammunition, and SIRAJ IBN WAHHAJ, HUJRAH WAHHAJ, SUBHANAH
 

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WAHHAJ, and LUCAS MORTON knowingly aided and abetted the defendant, JANY
LEVEILLE, in so doing.
In violation of 18 U.S.C. §§ 922(g)(5) and 2.

Count 6

34. The factual allegations in paragraphs 2 through 13 of this Superseding
Indictment are re-alleged as if set forth fully herein.

35. From at least in or about October 2017, up to and including in or about August
2018, in the District of New Mexico and elsewhere, JANY LEVEILLE, HUJRAH
WAHHAJ, SUBHANAH WAHHAJ, and LUCAS MORTON, and others known and
unknown to the Grand Jury, knowingly did conspire, combine, confederate, agree, and act
interdependently with each other to unlawfully seize, confine, inveigle, decoy, kidnap, abduct,
carry away, and hold JOHN DOE, a child who had not attained the age of eighteen (18) years,
to conceal and hold him, and, in committing or in furtherance of the commission of the
offense, did willfully transport JOHN DOE in interstate commerce from the State of Georgia
to the State of New Mexico, and did conceal and hold JOHN DOE, resulting in his death.

In violation of 18 U.S.C. § 1201(c).

Count 7

36. The factual allegations in paragraphs 2 through 13 of this Superseding
Indictment are re-alleged as if set forth fully herein.

37. From at least in or about October 2017, up to and including in or about August
2018, in the District of New Mexico and elsewhere, JANY LEVEILLE, HUJRAH
WAHHAJ, SUBHANAH WAHHAJ, and LUCAS MORTON knowingly did and did

attempt to unlawfully seize, confine, inveigle, decoy, kidnap, abduct, carry away, and hold

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JOHN DOE, a child who had not attained the age of eighteen (18) years, to conceal and hold

him, and, in committing or in furtherance of the commission of the offense, did willfully

transport JOHN DOE in interstate commerce from the State of Georgia to the State of New

Mexico, and did conceal and hold JOHN DOE, resulting in his death.

In violation of 18 U.S.C. §§ 1201(a)(1) and 2.

The

FORFEITURE NOTICE

preceding charges of this Superseding Indictment are incorporated as part of this

section as if fully re-alleged herein for the purpose of alleging forfeiture to the United States

pursuant to

18 U.S.C. § 924(d)(1), by 28 U.S.C. § 2461(c).

Upon conviction of the offense alleged in this Superseding Indictment, JANY

LEVEILLE, SIRAJ IBN WAHHAJ, HUJRAH WAHHAJ, SUBHANAH WAHHAJ,

and LUCAS MORTON shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d)(1),

and 28 U.S.C. § 2461(c), any interest they may have in:

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a Marlin 336R 30-30 caliber rifle having serial number R2898;

a Glock 17 Gen4, 9 mm pistol, having serial number BDLCO17;

a Glock 26 Gen4, 9 mm pistol, having serial number BEUV018;

a Kimber Pro Aegis II, 9 mm pistol, having serial number KRF7874;

a Ruger SP101, .357 caliber revolver, having serial number 575-55758;

a Sanayi CZ 612 HC-P, 12 gauge shotgun, having serial number 116A12;

a Smith & Wesson 642, .38 caliber revolver, having serial number CVB3274;
a HS Products XD40, .40 caliber pistol, having serial number US411172;

a Glock 42, .38 caliber pistol, having serial number ABDB288;

a Savage 10, .308 caliber rifle, having serial number H602915;
  

 

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DP
FD

istant United States A ¢ory

a Bushmaster XM15-E2s, .223 caliber rifle, having serial number BF1659484;
approximately five-hundred (500) rounds of ammunition of various caliber;
approximately twelve (12) high-capacity firearms magazines;

a bullet-proof vest; and

other assorted firearms accessories.

A TRUE BILL:

/s/
FOREPERSON OF THE GRAND JURY

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